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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.

Michael Seltzer

Plaintiff

V.

Bal Harbour Shops L.L.C.,

a Florida limited liability company
and

Bal Harbour Shops Inc.

a Delaware Corp licensed to do business in Florida

Defendants

INJUNCTIVE RELIEF SOUGHT
COMPLAINT

COMES NOW, Plaintiff, by and through the undersigned counsel, who
hereby files this Complaint against Defendants, Bal Harbour Shops
L.L.C., a Florida limited liability company and Bal Harbour Shops Inc.
a Delaware Corp licensed to do business in Florida (hereinafter referred
to as “Defendants” for injunctive relief pursuant to the Americans with
Disabilities Act, 42 U.S.C. §12181, et seq. (“ADA”) and the ADA’s
Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG’), and allege as

follows:
JURISDICTION

1. This Court has original jurisdiction over the action pursuant to 28 U.S.C.
§§1331 and 1343 for Plaintiff's claims arising under 42 U.S.C. §12181,
et seq., based upon Defendant's failure to remove physical barriers to
access and violations of Title III of the ADA (see also, 28 U.S.C. §§2201

and 2201).
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PARTIES

1. Plaintiff is a resident of the State of Florida and this judicial district, is
sui juris, is disabled as defined by the ADA, is required to traverse with a
cane for spinal stenosis, is substantially limited in performing one or more
major life activities, including but not limited to walking, standing, grabbing,
grasping and/or pinching. Plaintiffs uses a cane for mobility purposes.
Plaintiff's access to The Bal Harbour Shops located

at 9700 Collins Ave, Bal Harbour, FL 33154 and/or full and equal
enjoyment of the goods, services, foods, drinks, facilities, privileges,
advantages and/or accommodations offered therein were denied and/or
limited because of these disabilities, and will be denied and/or limited in
the future unless anduntil Defendants is compelled to remove the physical
barriers to access andcorrect the ADA violations which exist at the Facility,
including those set forth in this Complaint.

2. On or about October 5, 2021, Plaintiff was a customer at The Bal
Harbour Shops and could not access the shops because the disabled
parking spots had beenmoved to the back of the building away from the
front door.

4 Plaintiff cannot return to The Bal Harbour Shops, until the property is
made safe and compliant with the ADA.

5. Plaintiff intends to visit the Facility and Property within six months, or
sooner, to shop as soon as the Facility and Property are accessible again.

6. In this instance, Plaintiff travelled to the Facility and Property as a
customer, encountered the barriers to access at the Facility and Property
detailed in this Complaint, engaged those barriers, suffered legal harm and
legal injury, and will continue to suffer such harm and injury as a result of
the illegal barriers to access and Defendants ADA violations discussed
below.

7. Defendants, The Bal Harbour Shops is a Florida Limited Liability
Company and transacts business in the State of Florida and within this
judicial district. The Bal Harbour Shops Inc. is a Delaware corporation and

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is the owner and/or operator of the real property and improvements which
the Facility is situated in and is the subject of this action. (Referred in this
Complaint as the “Property”)

FACTUAL ALLEGATIONS AND CLAIM
5. On July 26, 1990, Congress enacted the Americans with Disabilities
Act 42 U.S.C. §12101, et seq.
6. | Congress found, among other things, that: (i) some 43,000,000
Americans have one or more physical or mental disabilities, and this number
is increasing as the population as a whole is growing older.
(ii) historically, society has tended to isolate and segregate individuals with
disabilities, and, despite some improvements, such forms of discrimination
against individuals with disabilities continue to be a serious and pervasive
social problem.
(iii) discrimination against individuals with disabilities persists in such
critical areas as employment, housing public accommodations, education,
transportation, communication, recreation, institutionalization, health
services, voting, and access to public services.
(iv) individuals with disabilities continually encounter various forms of
discrimination, including outright intentional exclusion, the discriminatory
effects of architectural, transportation, and communication barriers,
overprotective rules and policies, failure to make modifications to existing
facilities and practices, exclusionary qualification standards and criteria,
segregation, and relegation to lesser service, programs, activities, benefits,
jobs, or other opportunities; and
(v) the continuing existence of unfair and unnecessary discrimination and
prejudice denies people with disabilities the opportunity to compete on an
equal basis and to pursue those opportunities for which our free society is
justifiably famous and costs the United States billions of dollars in
unnecessary expenses resulting from dependency and nonproductivity.
42 U.S.C. §12101(a)(1) - (3), (5) and (9).
7. Congress explicitly stated that the purpose of the ADA was to:
(i) | provide a clear and comprehensive national mandate for the
elimination of discrimination against individuals with disabilities.
(ii) | provide a clear, strong, consistent, enforceable standards addressing
discrimination against individuals with disabilities; and (iv) invoke the sweep
of congressional authority, including the power to enforce the fourteenth
amendment and to regulate commerce, in order to address the major areas
of discrimination faced day-to-day by people with disabilities. 42 U.S.C.
§12101(b)(1)(2) and (4).
9. | The congressional legislation provided places of public accommodation

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one and a half years from the enactment of the ADA to implement the
requirements imposed by the ADA. The effective date of Title Ill of the ADA
was January 26, 1992, or January 26, 1993, if Defendants has 10 or fewer
employees and gross receipts of $500,000 or less. 42 U.S.C. § 12181; 28
C.F.R. §36.508(a)
6. The Facility is a public accommodation and service establishment. The
Property is a public accommodation and service establishment.
7. _ Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991,
the Department of Justice, Office of Attorney General, promulgated federal
regulations to implement the requirements of the ADA. 29 C.F.R. Part 36.
Public accommodations were required to conform to these regulations by
January 26, 1992 (or January 26, 1993, if Defendants has 10 or fewer
employees and gross receipts of $500,000 or less). 42 U.S.C. §1281, et
seq., and 28 C.F.R. §36.508(a).
8. The Facility must be, but is not, in compliance with the ADA and
ADAAG. The Property must be, but is not, in compliance with the ADA and
ADAAG.
9. Plaintiff has attempted to and has, to the extent possible, accessed the
Facility and the Property in his capacity as a customer of the Facility and
Property, but could not fully do so because of his disabilities due to the
physical barriers to access, dangerous conditions and ADA violations that
exist at the Facility and Property that preclude and/or limit his access to the
Facility and Property and/or the goods, services, facilities, privileges,
advantages and/or accommodations offered therein, including those barriers,
conditions and ADA violations more specifically set forth in this Complaint.
10. Plaintiff intends to visit the Facility and Property again in the very near
future as a customer in order to utilize all of the goods, services, facilities,
privileges, advantages and/or accommodations commonly offered at the
Facility and Property but will be unable to fully do so because of his disability
and the physical barriers to access, dangerous conditions and ADA
violations that exist at the Facility and Property that preclude and/or limit his
access to the Facility and Property and/or the goods, services, facilities,
privileges, advantages and/or accommodations offered therein, including
those barriers, conditions and ADA violations more specifically set forth in
this Complaint.
11. Defendants have discriminated against Plaintiff and others with
disabilities, by denying access to, and full and equal enjoyment of the goods,
services, facilities, privileges, advantages and/or accommodations of the
Facility and Property, as prohibited by, and by failing to remove architectural
barriers as required by 42 U.S.C. §12182(b)(2)(A)(iv), and will continue to
discriminate against Plaintiff and others with disabilities unless and until

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Defendants are compelled to remove all physical barriers that exist at the
Facility and Property, including those specifically set forth herein, and make
the Facility and Property accessible to and usable by persons with
disabilities, including Plaintiff.
12. Defendants have discriminated against Plaintiff by failing to comply
with the above requirements. A specific, although not exclusive, list of
unlawful physical barriers, dangerous conditions, and ADA violations which
Plaintiff was made aware of, experienced and/or observed and preclude
and/or limit Plaintiffs ability (because of his disability) to access the Facility
and Property and/or full and equal enjoyment of the goods, services,
facilities, privileges, advantages and/or accommodations of the Facility and
Property, include:
ACCESSIBLE ELEMENTS
a. Accessible parking spaces are not properly located and/or distributed
on the Property and/or Facility in violation of section 208.3 of the 2010
ADAAG regulations. This violation made it difficult for Plaintiff to locate an
accessible parking space.
b. | One or more accessible parking spaces have an inadequate width
and/or are not properly marked and are in violation of section 502.2 of the
2010 ADAAG standards. This violation made it dangerous and difficult for
Plaintiff to exit and enter their vehicle while parked at the Property and/or
Facility.
c. | The walking surfaces of the accessible route have excessive slope in
violation of section 403.3 of the 2010 ADAAG standards. This violation made
it dangerous and difficult for Plaintiff to access the units of the Property
and/or Facility.
d. Oneor more ramps servicing the Property and/or Facility lack finished
edges or edge protection and/or are otherwise in violation of section 405.9 of
the 2010 ADAAG standards. This violation made it difficult for Plaintiff to
access the units of the Property and/or Facility.
e. The Property and/or Facility has a ramp leading from the accessible
parking space to the accessible entrances with a slope exceeding 1:10 in
violation of section 405.2 of the 2010 ADAAG regulations. This violation
made it dangerous and difficult for Plaintiff to access the units of the Property
and/or Facility.
f. The ground surfaces of the ramp have vertical rises in excess of % inch
in height, are not stable or slip resistant, have broken or unstable surfaces or
otherwise fail to comply with Section 302 and 303 of the 2010 ADAAG
standards. This violation made it dangerous and difficult for Plaintiff to
access the units of the Property and/or Facility.
g. | The ground surfaces of the accessible route have vertical rises in

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excess of % inch in height, are not stable or slip resistant, have broken or
unstable surfaces or otherwise fail to comply with Section 302 and 303 of the
2010 ADAAG standards. This violation made it dangerous and difficult for
Plaintiff to access the units of the Property and/or Facility.
h. | The ground surfaces of the access aisle have vertical rises in excess of
Ya inch in height, are not stable or slip resistant, have broken or unstable
surfaces or otherwise fail to comply with Section 302 and 303 of the 2010
ADAAG standards. This violation made it dangerous and difficult for Plaintiff
to access the units of the Property and/or Facility.
Plaintiff to properly transact business at the Property and/or Facility.
k. | The Property and/or Facility has a ramp leading from the accessible
parking space to the accessible entrances with a cross-slope of greater than
1:48 in violation of section 405.3 of the 2010 ADAAG regulations. This
violation made it dangerous and difficult for Plaintiff to access the units of the
Property and/or Facility.
I. One or more accessible parking spaces are not adequately marked
and are in violation of section 502.1 of the 2010 ADAAG standards. This
violation made it difficult for Plaintiff to locate an accessible parking space.
13. The above listing is not to be considered all-inclusive of the barriers,
conditions or violations encountered by Plaintiff and/or which exist at the
Facility and Property. Plaintiff requires an inspection of Facility and Property
in order to determine all of the discriminatory acts violating the ADA.
14. All of the above violations are readily achievable to modify in order to
bring the Facility and Property into compliance with the ADA.
15. The removal of the physical barriers and dangerous conditions present
at the Facility and Property is readily achievable because the nature and cost
of the modifications are relatively low, and the Defendants have the financial
resources to make the necessary modifications.
16. Upon information and belief, the Facility and Property has been altered
since 2020.
17. In instances where the 2010 ADAAG standard does not apply, the
1991 ADAAG standard applies, and all of the violations listed in paragraph
18 can be applied to the 1991 ADAAG standards.
18. Plaintiff has attempted to gain access to the Facility and Property in his
capacity as a customer, but because of his disability has been denied access
to, and has been denied the benefits of services, programs and activities of
the Facility and Property, and has otherwise been discriminated against and
damaged by the Defendants, because of the physical barriers, dangerous
conditions and ADA violations set forth above, and expect to be
discriminated against in the near future by the Defendants because of
Plaintiff's disabilities, unless and until Defendants are compelled to remove

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the unlawful barriers and conditions and comply with the ADA.

19. The removal of the physical barriers, dangerous conditions and ADA
violations set forth herein is readily achievable and can be accomplished and
carried out without much difficulty or expense. 42 U.S.C.
§12182(b)(2)(A)(iv); 42 U.S.C. §12181(9); 28 C.F.R. §36.304.

20. Plaintiff is without adequate remedy at law, is suffering irreparable
harm, and reasonably anticipates that he will continue to suffer irreparable
harm unless and until Defendants are required to remove the physical
barriers, dangerous conditions and ADA violations that exist at the Facility
and Property, including those set forth herein. The relief requested serves
the public interest and the benefit to Plaintiff and the public far outweigh any
detriment to Defendants.

21. Plaintiff has been obligated to retain the undersigned counsel for the
filing and prosecution of this action and has agreed to pay the undersigned
counsel reasonable attorney’s fees, costs, and expenses from the
Defendants pursuant to 42 U.S.C. § § 12205 and 12117.

22. Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to
grant injunctive relief to Plaintiff, including an order to alter the subject
Facility and Property to make it readily accessible to and useable by
individuals with disabilities to the extent required by the ADA.

WHEREFORE, Plaintiff respectfully requests that this Court issue a
permanent injunction enjoining Defendants from continuing their
discriminatory practices, ordering Defendants to remove the physical barriers
to access and alter the subject Facility to make it readily accessible to and
useable by individuals with disabilities to the extent required by the ADA, and
award Plaintiff his reasonable attorneys’ fees, litigation expenses and costs.

Respectfully submitted this 3rd day of December 2021.

/s/ Donald Jacobson

Donald N Jacobson

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